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                               EXHIBIT 8
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                                 ANDREA WEISMAN, Ph.D.
                    Juvenile and Correctional Mental Health Consultant
                     Phone: (202} 531-0488 Email: aweisman@aol.com

  Date of Report: 2/27/18

  To: Theodore A. Howard, Esq.
      Wiley Rein, LLP
      1776 K Street, NW
      Washington, DC 20006

  MY INVOLVEMENT IN THIS CASE

   1. I was retained by Theodore A. Howard, Esq. with Wiley Rein, LLP to provide an overview of

      established national standards regarding the essential ingredients in an adequately

      functioning juvenile correctional facility and to comment on current practices at the

      Shenandoah Valley Juvenile Center as revealed by the evidence made available thus far.

      This declaration is submitted in support of the motion for a preliminary injunction submitted
      by the plaintiffs. If called upon to testify I would do so competently as follows.

  MY QUALIFICATIONS

  2. I am a licensed clinical psychologist in Washington, D.C. My experience as a clinical
      psychologist spans nearly 30 years. I have extensive experience evaluating juveniles who
      have been subjected to sh·ingent conditions of confinement, a very large percentage of whom
      have experienced severe trauma or are diagnosed with mental or intellectual disabilities. I
      have evaluated several hundred juveniles during my career.

  3. I have worked with juveniles in correctional settings for over 25 years. Most recently I served
      as the Chief of Health Services for the Department of Youth Rehabilitation Services (DYRS)
      in Washington. DC from 2007 - 2011. While there, I was responsible for the oversight of all
      medical and behavioral health programs and services for youth detained in or committed to
      DYRS facilities or in the community. DYRS had been under court order (Jerry M.) since
      1987, in large part due to the inadequacy of medical and mental health services. During my
      tenure, both medical and behavioral health services came into substantial compliance with



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      the consent decree. In addition, I oversaw the development of specialized programs,
     including programs introducing trauma informed care.


  4. From December, 2004 - April, 2007, I was Director of the Division of Behavioral Health
     Services for the Maryland Department of Juvenile Services in Baltimore, Maryland. I was
     responsible for the development, implementation and oversight of a continuum of behavioral
     health services (i.e., mental health and substance abuse) for youth in the 15 Department of
     Juvenile Services (DJS) facilities, encompassing both detention and commitment. DJS was
     operating under agreements with the U.S. Department of Justice under the Civil Rights of
     Institutionalized Persons Act (CRIP A) in three facilities (Baltimore City Juvenile Justice
     Center, Cheltenham Youth Facility and Charles H. Hickey School). During my tenure, we
     came into partial or substantial compliance on most CRlPA-related indicators.


  5. From December, J995 -July, 2000, I was the Director of Mental Health Services at the
     Central Detention Facility (DC Jail) during the time it was under federal receivership
     (Campbell v. McGruder). Under my leadership, the D.C. Jail developed protocols,
     procedures and policies that conformed with, and in many instances went beyond, the
     National Commission on Correctional Health Care standards.


  6. I have been appointed to serve as the mental health expert for monitors of consent decrees
     involving reforms in the juvenile justice systems in Pennsylvania, Illinois, Kentucky,
     California, Ohio, Maine and Georgia. In my role in Ohio, I aided in the restructuring of the
     mental health system and revamping of the disciplinary process in the State's three secure
     juvenile facilities. Ohio's use of isolation and programmatic restraint was a central part of the
     litigation. See SH v Reed 2:04-cv-1206 (S.D. Ohio). In Georgia I assisted the US
     Department of Justice (DOJ) in monitoring a memorandum of understanding DOJ reached
     with the State. My focus was on the conditions of confinement juveniles were subjected to
     and the adequacy of mental health services provided to the juveniles.




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  7. I have written and spoken extensively on the issues of isolation and mental health services
      for juveniles involved with the justice system. In 2007, I testified before Congress on mental
      health issues among youth in the juvenile justice system.


  8. I obtained my Doctor of Philosophy (Ph.D.), in clinical psychology from Clark University in
      1988. I am a licensed clinical psychologist in Washington D.C.


  9. I have included a copy of my curriculum vita as Exhibit A.


  MATERIALS REVIEWED

  I reviewed the declarations of six immigrant youth who were or are at the Shenandoah Valley

  Juvenile Center Commission: John Doe 1, John Doe 2, John Doe 3, D.M., J.A. and R.B.



  I reviewed Dr. Greg Lewis' declaration.



  I also relied on my extensive knowledge of best practices in the field of juvenile justice. In

  addition, I relied on the national standards promulgated by the National Commission on

  Correctional Health Care, the Juvenile Detention Alternatives Initiative and the American

  Correctional Association. Finally, as will be evident throughout this declaration, I referenced

  professional literature on adolescent development/brain development, prevalence and

  presentation of youth in the juvenile justice system with complex trauma, consequences of

  solitary confinement and the effectiveness of incentivized behavior management programs.



  THE BACKGROUNDS OF THE IMMIGRANT YOUTH

  Immigrant youth at Shenandoah Valley Juvenile Center (SVJC} were picked up because they

  crossed the border while fleeing from trauma and abuse they were suffering at home and in

  their communities. As Dr. Lewis notes in his report:



         Children who come to the United States unaccompanied from other countries

         (unaccompanied alien child - "UAC") come for a variety of reasons including: fleeing


                                                                                                    3
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           parental abuse and neglect; fleeing violence and unsafe conditions in their home country;

           fleeing persecution; to join parents or other relatives already living in the U.S.; and a

           desire for a better life in which they will have opportunities to work and go to school.

           Some children are also involuntarily trafficked into the U.S. as part of the worldwide labor

           and sex trafficking industry. 1 UAC's are vulnerable before, during, and after their journey

           to the U.S. because they do not have adult protection and are unable to properly care for

           themselves. 2



           Most UACs have experienced abuse, neglect, and trauma within their home countries,

           but are then faced with the additional stresses of migrating to the U.S. often traveling

           through unsafe and dangerous countries over a period of weeks and months. During their

           journey - which may take them through multiple countries - UACs may undergo highly

           traumatic experiences including: going days without food, water, or shelter; being

           exposed to unsanitary conditions; getting sick or injured; being robbed or kidnapped;

           being beaten; being raped; watching others being tortured or murdered; having to survive

           in the jungle; and having to survive crossing through deserts and rivers. Once they arrive

           in the U.S., UACs may be further traumatized if apprehended by Immigration and Customs

           Enforcement and detained. In addition, they have to adjust to living in a country in which

           they often do not speak the language and are unfamiliar with the customs. All of these

           experiences contribute to UACs who are likely to have suffered extensive and multiple

           instances of abuse and trauma, often referred to as complex trauma, prior to any trauma

           they may experience if detained.



  These already significantly traumatized youth are then detained in the SVJC and subjected to

  additional traumatization as will be discussed in this report.




  1
    Levinson, A. (2011). Unaccompanied immigrant children: A growing phenomenon with few easy solutions.
  Migration Policy Institute, available at https://www.migrationpolicy.org/print/4328
  2
    Young, W., & McKenna, M. (2010). The measure of a society: The treatment of unaccompanied refugee and
  immigrant children in the United States. Harvard Civil Rights-Civil Liberties Law Review, 45, 247-260, available at
  http ://ha rva rdcrcl .org/wp-content/ u ploads/2009/06/24 7-260. pdf


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  THE YOUTHS' DECLARATIONS
  All six youth spoke of spending repeated, extended periods of time in solitary confinement,

  often for minor infractions. While in solitary, the youth's clothes, personal items, mattress and

  bedding are typically removed from the cell. They are left in the cell in only their boxer shorts.

  They are afforded one book and a bible.



  All youth also spoke of having been excessively restrained by the use of a restraint chair to

  which they are physically attached for hours (shifts), sometimes days at a time. Several youths

  told of having been placed in the restraint chair as an intervention to address their suicidality.



  The youth also detailed the physical and verbal abuse they experienced at the hands of the staff

  members. These experiences will be discussed in detail in this report.



  MY OPINION

        I.     SOLITARY CONFINEMENT: PRACTICES AT THE SHENANDOAH VALLEY
               JUVENILE CENTER

   1.        It is my opinion, within a reasonable degree of certainty in the field of clinical

             psychology, that all juveniles subjected to the SVJC policy and practice of solitary

             confinement as described above are at a substantial risk of serious harm to their social,

             psychological, and emotional development.



   2.        Solitary confinement can be dangerous for anyone. Severely limiting an individual's

             environmental and social stimulation has a profoundly deleterious effect on mental

             functioning.



   3.        Research over the last half-century has demonstrated that solitary confinement can

             worsen mental illness and produce symptoms even in prisoners who start out




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           psychologically robust. Individuals who are deprived of meaningful external stimuli are

           soon unable to maintain an adequate state of alertness and attention to the

           environment. Even a short time in solitary confinement will predictably shift the

           encephalogram (EEG) pattern towards an abnormal pattern characteristic of stupor or

           delirium. 3



      4.   Due to their developmental vulnerability, solitary confinement causes juveniles much

           greater harm than does such confinement of adults, and the risks of solitary

           confinement to juveniles are alarming.



      5.   Because juveniles are still developing socially and emotionally and psychologically, they

           are especially susceptible to psychological and neurological harms when they are

           deprived of environmental and social stimulation. For a juvenile, simply being placed in

           isolation -the utter helplessness of it - is enormously stressful. This surge of cortisol -

           of fear, anxiety, and agitation - will be especially severe in juveniles. The

           consequences, including actual changes in brain structure, have been demonstrated to

           persist into adulthood. 4



      6.   Our knowledge of the harms caused to juveniles in solitary confinement is based on

           extrapolation from the clinical interviews of adults and the expanding knowledge of

           adolescent development. It is widely accepted that, in the adolescent brain, the

           connections between the frontal lobe and the mid-brain are still developing. 5 The

           frontal lobe sits just behind the forehead. As it develops, teenagers can reason better,




  3
    These harms are discussed in further detail in Psychiatric Effects of Solitary Confinement, 22 Wash. U.
  Journal of Law & Policy 325 (2006) an article written by Stuart Grassian, M.D. one of the leading experts
  on the harmful effects of solitary confinement.
  4
    Tottenham, N, Galvan, A. (2016). Stress and the adolescent brain; Amygdala-prefrontal cortex circuitry
  and ventral striatum as developmental targets. Neuroscience and Behavioral Reviews, 70, 217-227.
  5
    See, e.g.: Casey, B.J., Jones, R.M., and Hare, T.A., (2008) The Adolescent Brain, Ann. N.Y.
  Acad. Sci. 1124: 111-126; Ernst, M., Mueller, S.C. (2008) The adolescent brain: Insight from
  functional neuroimaging research. Dev. Neurobiol 68(6) 729-743.


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           develop more control over impulses and make better judgments. 6 This part of the

           brain continues to develop until an individual's mid-twenties.



      7.   Exposure to chronic, prolonged traumatic or stressful experiences, such as solitary

           confinement, has the potential to permanently alter an adolescent's brain which may

           cause longer-term problems in the following domains:



              a.   Attachment: Trouble with relationships, boundaries, empathy, and social

                   isolation;



              b. Emotional (Dis)Regulation: Difficulty identifying or labeling feelings and

                   communicating needs;



              c.   Cognitive Ability: Problems with focus, learning, processing new information,

                   language development, planning and orientation to time and space;



              d. Behavioral (Dis)Control: Difficulty controlling impulses, oppositional behavior,

                   aggression, disrupted sleep and eating patterns, trauma re-enactment. 7



      8.   The American Academy of Child and Adolescent Psychiatry, the American Medical

           Association, the World Health Organization and the United Nations have all concluded

           that, due to their developmental vulnerability, adolescents are in particular danger of

           adverse reactions to prolonged stays in isolation.



  6
   Noted developmental psychologist Lawrence Steinberg, details adolescents' growing capacity
  for executive functioning as their brains mature. Age of Opportunity: Lessons from the New
  Science of Adolescents. Houghton, Miffin, Harcourt, 2014).
  7
   How Trauma Affects Child Brain Deve lopment - N.C. Divi sion of Social Services . Vo l. 17, No.2, 201 2;
  See, e.g.: Tottenham, N ., Galvan, A. (2016) Stress and th e adolescent brain. Amygdala prefrontal
  co1tex circuitry and ventral striatum as deve lopmental targets. Neuroscience and Bio-behavioral Reviews
  70:217-22 7.



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      9.    Juveniles with intellectual and mental health disabilities are especially vulnerable to a

            substantial risk of serious harm from solitary confinement because they are more likely

            than persons in the general population to have diagnosed mental illnesses, learning

            disabilities, and a high incidence of trauma. Research shows that over 60% of the youth

            in correctional settings have an underlying major mental illness. These include

            Posttraumatic Stress Disorder, Attention Deficit Hyperactivity Disorder, and various

            forms of Bi-Polar mood disorders. Youth in solitary confinement have an even higher

            incidence of mental disorders than those in the general population.



      10.   Juveniles experience time differently- a day for a child feels longer than a day to an

            adult. 8 Whittmann et.al. conducted research investigating this perception difference,

            examining 499 subjects aged 14 to 94 years old. Their results generally support the

            widespread perception that the process of experiencing passage of time speeds up

            with age. In addition, juveniles have a greater need for social stimulation.



      11.   Across all developmental spheres, children are different from adults, making their time

            spent in isolation even more difficult and the developmental, psychological, and

            physical damage more comprehensive and lasting.        9




      12.   The incidence of trauma among incarcerated youth is also significant, with some

            studies reporting the number to be as high as 50- 90%. 10 There is a clear medical

            consensus that, for those juveniles with mental illness, the risk of harm posed by

            solitary confinement is especially great. People with mental illnesses already have

            cognitive defects in their brain structure or biochemistry. They already have weakened


  8Age effects in perception of time. Psychol Rep. 2005 Dec;97(3):921-35.Wittmann M, Lelmhoff
  S.
  9
    See e.g. Bremner,J. (2006) Traumatic Stress: effects on the brain. Dialogues in Clinical Neuroscience;
  Vol. 8, No. 4, 445-461.
  10
     Ford, J., et.al, Trauma Among Youth in the Juvenil e Justice System: Critical Issues and New
  Directions, National Center for Mental Health and Juveni le Justice, 2007.


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            defense mechanisms, are at a higher risk for mental health abnormality and are more

           susceptible to significant trauma from lack of environmental and social stimuli.

           Therefore, the trauma that can occur in juveniles with pre-existing mental illnesses will

            be more significant than the already significant and long-lasting effects on juveniles

           without a mental health condition when exposed to isolation.



    13.     Medical professionals, including organizations like the American Medical Association,

           agree that juveniles with mental illnesses should not be placed in solitary confinement

           for longer than one hour without a comprehensive evaluation from a physician. Solitary

           confinement should never be used to punish people with mental illnesses.



    14.    Youth exposed to traumatic or stressful events exhibit a wide range of symptoms. They

           present with not just internalizing problems, such as depression or anxiety, but also

           externalizing problems like aggression, conduct problems, and oppositional or defiant

           behavior. These are the very behaviors that result in institutional infractions that lead

           to placements in solitary confinement. This in turn causes more trauma, and can lead

           to more negative behavior, resulting in infractions, prolonging a youth's time spent in

           solitary.


      I.          SHENANDOAH VALLEY JUVENILE CENTER'S HOSTILE ENVIRONMENT

   In addition to the trauma youth experience consequent to their placement in solitary

   confinement, the hostile environment created by the correctional officers is also traumatizing.

   National standards do not allow officers to "slam" youth against the wall, excessively shackle

   and restrain youth and use derogatory language in describing immigrant youth.



   Physical Abuse
   All youth reported that they had been beaten up by staff members. One youth spoke of having

   been placed naked in a restraint chair fully shackled and then beaten by staff members; the

   youth reports he was left naked in the restraint chair for two and a half days. All youth spoke of




                                                                                                       9
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   being slammed against the wall or floor in staff members' attempts to "de-escalate" them and

   the situation. Clearly, these abusive actions further traumatized youth and were anything but

   calming interventions.


   Verbal Abuse


   The youth also spoke of the verbal harassment visited upon immigrant youth with remarks such

   as: "Hispanics, they don't know nothing, they just come to our country." The same youth said

   that staff "tell the kids they're stupid and make fun of them for not understanding English."

   The youth that reported this understood English enough to understand what the officers were

   saying.


   Another youth spoke of being taunted by officers on a daily basis: "While I was at Shenandoah,

   staff members would make fun of me on a daily basis. They would call me names such as

   "pendejo" and "onion head," and do things like drop my clean towel on the dirty floor in front

   of me."


   These overly punitive and degrading practices at SVJC lead to a culture within which youth

   cannot possibly be rehabilitated which is the mandate of juvenile correctional facilities.

   Shenandoah's strategies for managing youth's behaviors is entirely counter-productive. For

   over 70 years, behavioral psychological research has demonstrated that rewarding desired

   behavior is much more effective than punishing undesirable behavior. With a reward-centered

   paradigm, youth learn what TO DO, not just what NOT TO DO. As such, rewarded behaviors

   have a much greater likelihood of being repeated as opposed to behaviors which are not

   reinforced, which have a tendency to extinguish.



   Research has shown that effective behavior management programs in juvenile justice systems

   are based on providing incentives for youths' production of desired behavior. Typically, the

   youth participates in identifying what rewards would be meaningful (e.g., extra phone call, later

   bed time, etc.). While the rewards jump-start the change process, as youths' behavior changes,

   so too does the reaction of others engaging with the youth. Over time, improved interactions



                                                                                                   10
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   with others becomes its own reward. Through this process, youth come to incorporate the

   behavioral changes into their repertoire. Encouraging the development of more acceptable

   behaviors while detained has the greatest likelihood of their repetition in the community.



   This is consistent with the Juvenile Detention Altern,atives Initiative (JDAI) standard that

   requires "[t]he facility [to have] a system of positive behavior interventions and supports that

   provides a set of systemic and individualized strategies for achieving social and learning

   outcomes for youth while preventing problem behavior. 1111



          II.          ESSENTIAL COMPONENTS OF A MENTAL HEALTH PROGRAM IN JUVENILE
                       FACILITIES

   National standards promulgated by the National Commission on Correctional Health Care

   (NCCHC), the American Correctional Association (ACA) and the Juvenile Detention Alternative

   Initiative (JDAI) articulate the essential components of an adequately functioning mental health

   program in juvenile correctional facilities. As a general matter, there should be a sufficient

   number of mental health staff to perform the following functions:



          la. Intake Screening and Assessment - upon admission, all youth should receive a screening

          to determine if they are "eligible 11 for admission (e.g., they are not acutely psychotic or

          suffering a medical condition that cannot be treated at the facility).



          lb. Admission screening should also determine if the youth is at risk of self-harm or has any

          other mental health condition requiring immediate intervention. When the screening

          detects possible mental health or substance use conditions, detainees should be referred

          for further evaluation, assessment and treatment by mental health professionals.12




   11
        JDAI standard at 01 - Positive Behavior intervention and Supports
   12
        E.g., NCCHC standard Y-E-05 Mental Health Screening and Evaluation.


                                                                                                         11
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          2a. Suicide Prevention -All juvenile justice facilities should have and follow well-articulated

          policies and procedures for the management of youth who express suicidality or intent to

          harm themselves or engage in self-harming behaviors following admission. Typically, these

          procedures include placement of the youth on a suicide watch with either close (every 15

          minutes) or constant observation.



   In most facilities, anyone can place a youth on a suicide watch but only a mental health

   professional can lower or remove a youth from watch status. 13



   Several youths reported being placed in a restraint chair when they expressed intent on

   harming or killing themselves. Placing a youth in a restraint chair because he/she expresses

   suicidality is not consistent with national standards.

   3. Mental Health Services

    Youth are entitled to adequate medical and mental health care, to protection from harm

   including staff abuse, and to a facility in which the vulnerable can be protected: a safe, sanitary

   and humane environment. In order to provide this environment, certain measures should be

   implemented:

                  a.   All detainees should be screened upon admission by trained personnel for

                       mental health and substance abuse problems.

                  b. Treatment should be provided in an atmosphere of empathy and respect for the

                       dignity of the person. It should be strength-based and recovery-oriented. A

                       reasonable array of mental health interventions should be available (e.g.,

                       individual and group therapies, psychoeducational programs).

                  c.   Youth should have unimpeded access to care. This is accomplished by having a

                       "kite" or sick call system where in every living unit has a sick call box into which

                       youth can place their request to be seen by a mental health provider.

                  d. Mental health providers make daily rounds ensuring they check in with all youth.



   13
        E.g., NCCHC standard Y-G-05 Suicide Prevention Program



                                                                                                          12
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                     e.   Mental health providers meet regularly with each other and with correctional

                          staff to ensure everyone involved has knowledge of youths' needs and to

                          coordinate intervention strategies going forward.

                    f.    Treatment plans are developed for each youth (with or without a mental health

                          disorder) which articulate what the youth and staff will work on/toward during

                          the youth's residency. This is essential as it serves as the contract between the

                          youth and staff.



          111.            Staff Training (See JDAI Training Standards at C)



          At a minimum correctional staff should receive pre-deployment training on:

          •      Adolescent development/brain development.

          •      Signs and symptoms of youth with mental health disorder and the prevalence of these

                 among incarcerated youth.

          •      Suicide prevention policy and protocols and their attendant responsibilities.

          •      The incidence of trauma among incarcerated youth and what staff can do minimize

                 further traumatization.

          •      De-escalation strategies. Programs such as Safe Crisis Management have been shown to

                 have great efficacy in calming youth and reducing confrontations between staff and

                 youth. Their literature states: "Safe Crisis Management® 'SCM' is a comprehensive

                 training program focused on preventing and managing crisis events and improving

                 safety in agencies. Safe Crisis Management has a trauma-sensitive approach with

                 emphasis on building positive relationships with individuals. Our program is designed to

                 assist staff with responding to the needs of all individuals and particularly with the

                 needs of the most challenging." 1415

          IV.             Grievance System




   14
        See: JKM Training, Inc. Safe Crisis Management

   15
        E.g., NCCHC Y-C-04 Training for Child Care Workers



                                                                                                              13
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     National standards require an accessible and meaningful grievance process. For example, JDAI

     standard (at Rfl) reads, "The facility provides more than one way to report abuse, neglect,

     harassment, and retaliation by other youth or staff within the facility." Further, the standard (at

     Rf4) requires that, "Staff provide all youth with access to a grievance procedure that provides

     an opportunity for a fair consideration and resolution of complaints about any aspect of the

     facility, including medical and mental health services."



     A fair and equitable grievance system is essential in any correctional facility so that those

     incarcerated within them feel they have recourse in the event they feel they are being

     mistreated. The declarations of the youth made it clear they felt abused and demeaned but

     that they did not have any meaningful recourse to address their complaints. One youth said,

     "It's easy for the guards to write incident reports - you did this, you did that, you disrespected

     me - but they never hear the kid's side of the story. My voice was never heard."


     Fl NAL CONCLUSIONS

     The SVJC is riddled with problems. The concerns of the immigrant children must be taken

     seriously. These already traumatized youth report being abused both physically and verbally

     while at SVJC. The practices employed by the SVJC create a hostile and punitive environment

     that runs counter to all national standards. While implementation of an adequate mental

     health program may take time, these practices must cease Immediately.



     It is imperative that the leadership at Shenandoah Valley Juvenile Center familiarize themselves

     with national standards and develop a plan for their implementation to avoid continuing

     practices that create lasting harm for vulnerable youth.



     I submit this report on 2/27/2018.




     Andrea Weisman, Ph.D.
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                            ANDREA WEISMAN
              Juvenile and Correctional Mental Health Consultant
                         DOJ Certified PREA Auditor
               Phone: (202) 531-0488 Email: aweisman@aol.com


         Forensic Consultation

         June, 2017 - present
         Corrections Information Council
         Washington, DC

         CIC provides oversite of DC imnates in the FBOP. I am their
         mental health consultant. I have been involved in their ass ssment
         of mental health services for inmates at the ADX Florence FaciUty.

         August, 2016 - present
         Equal Justice Initiative
         Montgomery, AL

         This is a Miller re-sentencing case. A JL WOP case concen1ing a
         won1an sentenced when she was 14.

         May, 2015 - June, 2016
         Office of the State Public Defender
         Kalispell, MT

         I was the mental health expert evaluating a young man charged
         with mitigated deliberate homicide.

         March, 2015 - present
         Lee Hunt Law Office
         Santa Fe, NM
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        I am 1.he 1nental health expert in a wrongful death sujt of a youth in
        the Santa Fe County Juvenile Detention Faci lity.

        August, 2017 - September, 2017
        Center for Children's Law and Policy
        Washington, DC

        I served on a team of experts assessing four juvenile detention
        centers in Kentucky.

        August, 2017 - September, 2017
        Center for Children's Law and Policy
        Washington, De

        I was the mental health expert on a team of experts a sessing the
        Long Creek Juvenile Detention Center in Portland Maine.

        September, 2015 - October, 2016
        Law Offices of Victor Fleitis
        Tupelo, MS

        I was the mental health expert in a case involving the intrusive and
        unnecessary strip search of a 12 year old girl.

        May, 2014 - June, 2016
        U.S. Department of Justice v. Glen Mills School

        I was the mental health expert for DOJ investigating services for
        youth with mental health disabilities.

        July, 2014 - June, 2015
        Center for Children's Law and Policy
        Washington, DC



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        I served as the mental health expert for the enter for Chi ldren's
        Law and Policy as part of a team brought in to assess the Rhode
        Island Training School's compliance with Juvenile Detention
        Alternative Initiative + standards.

        July, 2014
        Georgetown Criminal Justice Law Clinic
        Washington, DC

        I conducted a competency assessment of a 54 year o ld man with
        schizophrenia and MR charged with crack distribution.

        November, 2011- December, 2015
        S.H. v. Reed
        Ohio Department of Youth Services
        Columbus, Ohio

        I served as the mental health expert for the federally appointed
        Monitor in the class action lawsuit regarding conditions of
        confinement in three secure juvenile justice facilities in Ohio.
        Their use of isolation and programmatic restraint had been a
        central component of the litigation.

        February, 2012 - August, 2013
        'I'roy. D. v. Mickens, et. al.
        Juvenile Law Center
        Philadelphia, PA

        I served as the expert mental health consultant regarding the use of
        extensive isolation and the development of an adequate mental
        health program.

        April, 2013
        Center for Children's Law and Policy
        Washington, DC

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        I was the mental health expert on a team brought in to review the
        Cook County Temporary Juvenile Detention Facility in Chicago,
        Illinois on behalf the Annie . Casey Foundation's Juvenile
        Detention Alternatives Initiative.

        May, 2013 - August, 2013
        State Office of the Public Defender
        Cheyenne, WY

        I was the expert mental health consultant regarding the
        resentencing of a juvenile originally sentenced to life without
        parole.

        December, 2003 - September, 2004
        Receiver, Riverview Psychiatric Center/Augusta Mental
        Health Institute
        Augusta, Majne

        I served as an expert forensic consultant, working for the Receiver
        of Riverview Psychiatric Center (RPC), appointed by the federal
        court, regarding the structure and design of menta1 health services
        within the RPC (Maine's state mental hospital serving the forensic
        population) and the accessibility of acute care services for
        incarcerated populations in Maine jails and prisons. My
        consultation included the develop1nent of strategies for
        implementation of community-based services.


        July, 2003 - January, 2004
        Dickstein, Shapiro, Morin & Olinsky LLP
        Washington, DC

        I served as a mental health expert in a wrongful death lawsuit
        against the Virginia Department of Corrections. This case

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        involved the suicide of a 37-year-old man in one of the Sussex
        prisons in Virginia.

        January, 1998 - June, 2001
        Institute on Crime, Justice and Corrections
        George Washington University
        Washington, DC

        I worked as a mental health expe1t for the Institute, which served
        as monitor of a Memorandum of Understanding between the US
        Department of Justice and the Georgia Depattment of Juvenile
        Justice regarding health care and conditions of confinement in the
        state's juveni le detention facilities and training schools for
        sentenced youth. Adequacy of mental health services in all the
        facilities was one ofDOJ's principal concerns. I traveled
        throughout the state monitoring program capacity, speaking with
        youth and staff about practices and resources, and communicating
        back to the Institute, DOJ and the Georgia Commissioner on
        Juvenile Justice.

        November 1999
        Human Rights Watch
        Baltimore ity Jail
        Baltin1ore, Md.

        I was the mental health expert for I-IRW on a team brought in to
        investigate mental health services and conditions of confinement
        for juveniles in the Baltimore City Jail.

        March, 1999 - June, 2001
        Physicians for Human Rights
        Washington, DC

       As a mental health expert for PI-TR, I provided training for medical
       students and physicians on how to inspect juvenile facilities.

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        February 1999
        Amnesty International
        Norway

        1 served as a mental health expert for AI as part of a team that
        toured Norway to discuss the American Juvenile Justice system
        with public officials and other policymakers, attorneys, law
        students, and other advocates.

        September, 1994 - December, 1994
        National Coalition for Mental and Substance Abuse Health
        Care in the Criminal Justice System
        Washington, DC

       This was a national advocacy organization funded by SAMI--ISA
       promoting mental health services for juveniles/adults in the
       juvenile/criminal justice system. I served as Senior Policy Analyst
       and helped to coordinate state policy planning meetings.


        Full-time Employment

        May, 2007 - August, 2011
        Chief, Health Services Administration
        Depaiiment of Youth Rehabilitation Services
        Washington, DC

       I was responsible for the oversight of all medical and behavioral
       health programs and services for youth detajned in or committed to
       DYRS facilities or in the community. The Agency has been under
       court order (Jerry M.) since 1987, in large part due to the
       inadequacy of medical and n1ental health services. Among my
       responsibilities was the development of a consent decree work plan
       with the court's Special Arbiter and plaintiffs' attorneys that would

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        allow DYRS to bring medical and behavioral health services up to
        national standards and move toward exiting Jerry M

        My responsibilities included oversight of the Jerry M work plan,
        including the development of new policies, procedures, protocols,
        services, progra1ns and staffing requiren1ents and patterns of
        deployment for both medical and behavioral health programs.
        During my tenure, both medical and behavioral health services
        came into substantial compliance with the work plan. In addition,
        I oversaw the development of specialized programs, including
        programs introducing trauma jnformed care, the use of bio-
        feedback to address youths' trauma issues, a fatherhood program
        (Baby Elmo), gender specific programming, including family
        planning, implementation of an evidence-based sub tance abuse
        program, Lesbian-Gay-Bisexual-Transgender-Questioning
        programming and sensitivity training, the dev lopn1ent of an
        extensive continuous quality improvement program for the Health
        Services Administration and access to an an-ay of evidence-based
        programs and services, including Multisystemic Therapy,
        Functional Family Therapy, and Multidimensional Treatment
        Faster Care.

       I have also been responsible for the development of significant
       interagency collaborative opportunities with the District's
       Departinents of Education, Child and Family Services, Mental
       Health, Health, Health Care Financing, the Addiction Prevention
       and Recovery Administration, and Court Social Services. I have
       also had significant responsibility for working with the District's
       judges and court system.


       December, 2004 -April, 2007
       Director, Division of Behavioral Health Services
       Maryland Department of Juvenile Services
       Baltimore, MD.

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        l was responsible for the development, implementation and
        oversight of a continuum of behavioral health services (i.e., mental
        health and substance abuse) for youth in the 15 Department of
        Juvenile Services (DJS) facilities, both detention and commit1nent.
        DJS was under agreements with the U.S. Department of Justice
        under the Civil Rights of Institutionalized Persons Act (CRIP A) in
        three facilities (Baltimore City Juvenile Justice enter,
        Cheltenham Youth Facility and Charles H. Hickey School). During
        my tenure, we came into partial or substantial compliance on most
        CRJPA-related indicators.

        I was responsible £ r the collaboration and coordinati n of
        behavioral health services with Maryland sister agenc.ies, including
        the Department of Health and Mental Hygiene (DHMI-D, Maryland
        State epartment of Education (MSD , Department of Social
        Services (DSS), Department of Health and various community
        mental health and advocacy organizations.

       I was a co-founder of the Community and Family Resource Center
       in the Baltimore City Juvenile Justice Center, which provided
       information, short-term mental health counseling and linkage to an
       array of community-based services for families of youth in the
       juvenile justice system.


        September, 2002 - June, 2004
        Director, Alternative Pathways
        Department of Mental Health
        Washington, D

       Alternative Pathways (AP) was a locally- and federally-funded
       initiative to divert youth with mental health and/or substance abuse
       disorders from the juvenile justice system. I became the director of
       this initiative after l secured the funding from the federal Office of

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        Juvenile Justice and Delinquency Prevention for $1,600,000 for the
        Depattment of Mental Health to take the lead for the District.

        AP spearheaded interagency collaboration among all the District
        agencies that touch youth involved in the juvenile justice system,
        including the Family Comi, the Metropolitan Police Department,
          ourt Social Services, Public Defender Services, Department of
        Mental Health, Youth Services Administration, the Deputy Mayor
        for Children, Youth and Elders and various communjty
        stakeholders.

        As chair of the mayorally appointed committee, known as the
        Front-End Assessment Team FEAT), J was responsible for
        leading the effort and for bringing together those who could
        conceptualize the infrastructure and resources that would be
        needed. I developed the RFPs for vendors and was re ponsible for
        the development of all budgets and accounting to the District and
        federal agency. I was also responsible for all quarterly and annual
        reports.

        In FY 2003, Alternative Pathways launched Youth Empowerment
        Services (YES), with the goal of screening chronic truants and all
        apprehended youth for co-occurring disorders so that linkage to
        necessary services and supports could be established.

        Alternative Pathways was also asked to apportion a percentage of
        its funds for " deep-end" youth, defined as those residing on the
        Oak Hill Youth Center campus, or in out-of-District residential
        settings. I was responsible for developing the budget, criteria, and
        protocol for identifying youth with mental health needs who
        required resources not available in their current placements.
        Dozens of youth were identified and, with Medicaid and AP funds,
        were transitioned into the community to receive the services they
        required. The blending of funds fr m these sour ·es made it


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        possible to focus on community-based plans that were a mix of
        traditional and non-traditional services and supports.

        In addition, AP provided the funds to support the validation of
        Court Social Services' Risk Assessment Instrument (RAT) used in
        screening youth for detention. As part of AP~ s strategic plan for
        addressing the front-end, it was essential that the District used an
        objective and validated RAT. I budgeted funds in the AP grant to
        accommodate this expenditure and developed a contract between
        AP and the National Council on Crime and Delinquency. Progress
        and monitoring was provided by the F AT.


        February, 2001 - September, 2002
        Director, Mental HeaJth Services, Oak Hill Youth Center
        Department of Mental Health
        Washington, DC

        As noted previously, the Youth Services Administration (YSA),
        which was the predecessor of the Department of Youth
        Rehabilitation Services, had been under court order (Jerry M.)
        since 1987. During my tenure the daily census on the OHYC
        campus averaged 175, with up to 20 daily admissions. The
        population included a co-mingled mix of detained and committed
        youth. Working for the Department of Mental Health, I was
        responsible for the administrative and clinical oversight of mental
        health services and supports at the facility. I worked to dev lop
        interagency agreements between DMIT and YSA, and other
        District agencies providing direct service to the population (e.g.,
        Department of Education, Court Social Services and various group
        and shelter home providers). With supervisory resp nsibility for
        15 mental health professionals, I developed a comprehensive
        mental health program that included: suicide screening,
        comprehensive psychiatric and psychological assessments,
        medication management, crisis management, acute care services

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        and protocols for hospital transfers, and brief and on-gojng
        psychotherapy. I also established procedures for the linkage of
        youth to mental health services upon their release to the
        community.

        In addition, I provided a number of trainings for OHYC juvenile
        corrections officers, including: "Mental Health 10 l ," strategies for
        de-escalating youth, and suicide prevention.

        December, 1995 - July, 2000
        Director, Mental Health Services, Central Detention Facility
        (DC Jail)
        Federal Receivership (Campbell v. McGruder) DC Jail
        Washington, DC

       In 1995, the DC Jail (Central Detention Facility, or DF) was
       placed into receivership after nearly two decades of failing to come
       into compliance with consent decrees . The sentinel events leading
       to a receivership were the large number of completed suicides (9)
       that had occurred in the jail in the previous year. At that time,
       CDF provided services for all DC inmates, including sentenced
       inmate · residing in the Virginia-based Lorton prison complex.
       Upon my appoint1nent, I decentralized mental health services.
       This included training prison staff and developing protocols and
       procedures for delivery of mental health services through ut the
       DC Department of Corrections.

       The CDF had a court-mandated ceiling of 1,767 (there were 1,700
       on any given day and about 1,000 monthly admissions). I
       developed two residential treatment units, one serving those
       identified as acutely mentally ill, and a second, long-term stay unit
       that served as a step-down for those unable to be housed in the
       general population. All officers, detailed and relief, had to go
       through an 40-hour, full-week training in order to qualify to work
       on the ''mental health units." In addition, I developed an outpatient

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        mental health program for inmates residing in the general
        population. I hired and supervised a professional staff of 13
        Jjcensed psychologists and social workers to accomplish this.
        Together we developed protocols, procedures and policies that
        conformed with, and in many instances, went beyond the National
        Commission on orrectional Health Care standards.

        I developed, staffed and resourced numerous trainings for
        correctional officers
        Including, the 40-hour mental health training, suicide prevention,
        stress management, and de-escalation strategies.

        I also developed the funding necessary to launch two residential
        treatment units, ( one for men, the other for women) for inmates
        with substance abuse histories or charges. Working with Pretrial
        Ser ices, the Addiction, Prevention and Recovery Administration
        (APRA), and the Salvation Army, these jail-based units provided
        comprehensive mental health and substance abuse assessments and
        medical evaluations of detainees. I also began the process of
        establishing a recovery plan and effecting real I inkages for
        detainees returning to the community.

       My responsibilities included negotiating aftercare services and
       supports with the Department of Mental Health. In addition, I
       spearheaded an initiative to divert non-violent misdemeanants
       from the criminal justice system into mental health services and
       settings. As Chair of the DC Jail Diversion Task Force, I brought
       together the DC Superior Court, the Attorney General's Office,
       Public Defender Services, numerous community-based mental
       health advocacy groups and others to craft the District's diversion
       plan.

       January, 1995 - August, J996
       Director, DC Women's Jail Project
       Central Detention Facility (DC Jail)

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        Washington, DC

        I developed the program and funds to establish the Wo1nen's Jail
        Project, which provided direct mental health services and advocacy
        for women in the DC Jail. I supervised four Howard University
        clinical psychology doctoral students who worked on site in the
        Jail. The project was supported by funds from the U.S. District
        Court for the District of Columbia, the Public Welfare Foundation,
        the Eugene and Agnes E. Meyer Foundation, and the Center for
        Mental Health Services/Substance Abuse and Mental Health
        Services Administration/HHS.




        Volunteer Work

        April, 2010- June, 2011
        International Sports Federation (INAS)

        I was part of an international eligibility committee of psychologists
        that reviewed applications from intellectually disabled athletes
        from around the world who were applying to compete in the
        International Olympics.

        August, 1992 - September, 1994
        Death Penalty Focus
        San Francisco, 'A.

        I volunteered for the Death Penalty Pocus Group in San Francisco
        offering technical assistance in their development of media
        campaign .

        September, 1993 - December, 1993

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        Pelican Bay Information Project
        San Francisco, CA

        I volunteered for this grass-roots project whose mission was to
        monitor the Pelican Bay Prison trial and stay in communication
        with inmates in Pelican Bay's Special Housing Unit (Sl--IU).

        Clinical Practice

           • Director, Psychological Services Center, Clark University,
             Worcester, Ma. (1/91-6/91)
           • Partner, Private Practice, linical Associates of Shrewsbury,
             Shrewsbury, Ma. (9/90-6/93)
           • Treatment Team Coordinator, Westborough State Hospital,
             Westborough, Ma. (9/87-·12/90)
           • Sexual Abuse Specialist, Westborough State Hospital,
             Westborough, Ma. (9/88-12/90)
           • Staff Psychologist, Psychiatry and the Law Program,
             Worcester Area Co1nmunity Mental Health Center,
             Worcester, Ma. (9/83-6/87)


        Education

          1988Ph.D. Clinical Psychology Clark University, Worcester,
              MA
          1977 M.A. Psychology           Clark niversity, Worcester,
          MA
          1972 B.A. Psychology             Clark University, Worcester,
          MA



       Honors and Awards


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           1987 Research Scholar Appointment, Clark University,
                Worcester, Ma.
           1972 Phi Beta Kappa, Clark University, Worcester, Ma.
           1972 B.A. Cum Laude and with High I-Ionors in Psychology,
                Clark University, Worcester, Ma.

        Select Publications, Reports and Presentations

        (2014) Hartford Courant Op-Ed: State Must End Use of Restraints
        On Juveniles.

        (2014) Workshop presentation: Solitary Confinement and Isolation
        of Youth: Successful Reforms and Next Steps. Coalition for
        Juvenile Justice. With Amy Fettig, Senior Staff Counsel for the
        ACLU and Mishi Faruque, National Juv nile Justice Policy
        Strategist, ACLU.

        (2007) Testimony on "Mental Health Issues among Youth in the
        Juvenile Justice System" presented to the Congressional
        Subcommittee on Healthy Families and Communities of the
        Committee on Education and Labor.

       (2003) "Remarks - Mental Health in Prison Groups,'' UDC David
       A. Clarke School of Law Law Review, Vol. 7, Spring, umber 1,
       pgs. 224-232.

       (2002) "Trends in Mental Health and Juvenile Justice in the U.S."
       XXVIIth International Congress on Law and Mental Health,
       Amsterdam, the Netherlands.

       (2000) "Mental Illness Behind Bars." In J. May and K. Pitts (Eds.)
       Building Violence: How America's Rush to Incarcerate Creates
       More Violence. Sage Publications, Ca.


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        (1999) HCentral Detention Facility Safety Net Program." An
        interactive journaling series for use in a jail-based substance abuse
        program. Developed with Corrective Action Publications, a
        subsidiary of Serenity Support Services.

        (1999) "Manufacture of Mental Illness in U.S. Prisons: Can
        Psychologists Respond?" With Craig Haney. Panel presented at
        the American Psychological Association meeting in Boston, Ma.
        The panel was part of a session entitl ed Crisis in U.S. Prisons:
        Implications for a Culture of Peace.

        ( 1998) "Mental Health Outpatient Services in Correc6onal
        Settings." In M. Puisis, R. hansky, and J. May (eds.) Clinical
        Practice in Correctional Settings. Mosby, Chicago, Ill.

        Licensed in DC: license # PSY 1752
        Licensed in MD: license # 04384 (inactive)

        References upon request.




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